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                      IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                    )
                                             )
                     Plaintiff,              )
                                             )                 8:08CR210
       vs.                                   )
                                             )                   ORDER
MARTY HIRAM ELLIS,                           )
                                             )
                     Defendant.              )


     Upon the representation that the defendant has no objection, and for good cause
shown,

      IT IS ORDERED that the government's motion to continue trial (Doc. 139) is
granted, as follows:

       1. The jury trial now set for November 3, 2009 is continued to January 5, 2010.

        2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of
justice will be served by granting this continuance and outweigh the interests of the public
and the defendant in a speedy trial. Any additional time arising as a result of the granting
of this motion, that is, the time between November 3, 2009 and January 5, 2010, shall be
deemed excludable time in any computation of time under the requirement of the Speedy
Trial Act because the failure to grant a continuance would deny counsel for the defendant
or the attorney for the Government the reasonable time necessary for effective preparation,
taking into account the exercise of due diligence. 18 U.S.C. 3161(h)(7)(A) & (B)(iv).

       DATED October 28, 2009.

                                          BY THE COURT:

                                          s/ F.A. Gossett
                                          United States Magistrate Judge
